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             IN THE UNITED STATES DISTRICT COURT FOR THE
                    WESTERN DISTRICT OF OKLAHOMA

 ELIZABETH SOUZA BOLT,                       )
                                             )
               Plaintiff,                    )
                                             )
 v.                                          )     CIV-21-1102-HE
                                             )
 ROSE STATE COLLEGE BOARD OF                 )
 REGENTS, et al.,                            )
                                             )
               Defendant.                    )

         JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Elizabeth

Souza Bolt, Defendants Barbara Baumeister, Debra Craig-Cohagan, and Brenda Lomas, in

their official capacities, and SSM HealthCare of Oklahoma, Inc., hereby stipulate that the

above-styled and numbered action shall be, and hereby is, dismissed in its entirety without

prejudice. The parties shall be responsible for their own attorneys’ fees and costs.

       Dated September 20, 2022.



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